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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

MARIO A. MORALES, )
)

Movant, )

)

¥S. } Case No. 06 C 6219

)

UNITED STATES OF AMERICA, }
)

Respondent. )

MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

In 2006, Maric Morales, a former Chicago police officer, pled guilty to one count of
racketeering conspiracy and one count of possession of a firearm in furtherance of a drug
trafficking crime. The Court sentenced Morales to 294 months in prison. Morales has filed a
pro se motion pursuant to 28 U.S.C. § 2255 challenging his conviction and sentence. For the
following reasons, the Court denies Morales’ motion.

Facts

The Court recites the facts of this case from the government’s summary of the evidence
against Morales presented at his January 21, 2004 change of plea hearing and from Morales’ plea
agreement with the government.

From July 1996 to February 2002, Morales was a Chicago police officer assigned to the
24th District. Between May and July 2001, he conspired with James O’Neill, Gerald Cooper,
and others to steal money and drugs from drug dealers. Morales admitted to his involvement in

four separate incidents.
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On May 12, 2001, Morales, O’Neill, and Cooper went to the home of Jerome Carman to
see if there were drugs and money to steal. Morales wore his police badge outside of his clothing
around his neck. Needless to say, however, Morales was not conducting official police business.
With his gun drawn, Morales approached the basement of the residence and presented himself as
a police officer. ONeill kicked in the deor of Carman’s residence. Morales and O'Neill
discovered multiple duffel bags containing marijuana as well as cash. Morales, O* Neill, and
Cooper removed duffel bags containing more than one hundred kilograms of marijuana and more
than $10,000 in cash. Morales placed the cash into a pillowcase and placed the pillowcase and
the duffel bags of marijuana in the car he had driven to the residence. They then drove back to
Morales’ residence. Morales and the others divided the marijuana into four separate shares.
Morales kepi two shares, one for himself and one for another individual. Morales aiso kept the

cash, Morales later had O’Neill sell his share of the marijuana and give him the proceeds.

On Fone 21, 2001, Morales and O* Neill went to Emily Rivera’s residence to steal any
drugs and money stored inside. Rivera was Jerome Carman’s girlfriend whe had recently given
birth to a son that Carman had fathered. Rivera and the infant were home when Morales and
O’Neill arrived. Morales presented himself to Rivera as a Chicago police officer and again wore
his badge outside his clothing. He carried a gun. Morales falsely told Rivera that he had a search
warrant and asked her “where’s the shit?” Morales handcuffed Rivera behind her back, had her
20 into an upper bedroom, placed the baby on her lap, and preceeded to search the bedroom for
drugs and money. Morales and O’Neill did not find any drugs or money and departed, leaving

Rivera handcuffed inside.

On June 22, 2001, O'Neill directed Morales to the home of persons C and D who,

 
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O'Neill indicated, might have drugs and money. Morales went to their door at approximately
6:30 a.m., approached person C, and told her that he was a Chicago police officer. Morales again
wore his police badge around his neck. Person € had person D, her boyfriend, come to the door,
and Morales told him that he was a police officer and was there because he received information
that drugs and money may be inside. Morales pulled out his gun, entered the house, and patted
down person D, Person D allowed Morales into the house and told him to look around. Morales

searched the house but did not find any drugs or money.

At some point between June 12, 2001 and June 23, 200!, Morales, O’Neili, Cooper and
Kevin Kane agreed to kidnap person E to force him to give them his home address so that they
could steal drugs and money. On June 23, 2001, ONeill, Cooper and Kane, seated in a van, and
Morales, seated in his own vehicle, waited while person E and co-defendant Ivan Madcrin
conducted a marijuana transaction. After person E drove away from the transaction, Morales
pulled over person E’s vehicle on Western Avenue in Chicago. Morales, dressed as a police
officer and with his badge shown and pun drawn, ordered person E out of the car. Morales
testrained person E with plastic restraints and led him toward the van that was parked nearby.
Morales intended to place person E in the van. As person E approached the van, however, he
pulled away from Morales and began to run. Cooper, who was driving the van, drove away. The
kidnapping attempt, therefore, was unsuccessful.

Between September | and 7, 2001, Morales attempted to extort approximately $5000
from O'Neill. Unbeknownst to Morales, O’Neill had already agreed te cooperate with the
government and was wearing a recording device. Morales told O*Neill that he could protect him

from physical violence from Latin King gang members through the use of his police powers.
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Morales told O’Neill that if he did not pay $5000, Morales would allow the Latin Kings to harm
Neill. Morales also asked for $950 to repair a car. Morales said that the money he demanded
included $3000 for himself and $1000 for each of two police officers who were providing
security,

On September 7, 2001, O’Neill and Kane, now also cooperating with the government,
met Morales in a car. The FBI gave O'Neill $5,950 in cash and again equipped him with a
recording device. O’Neill gave Morales $950 in cash for the car repair bill and $5000 for the
cost of the protection Morales had described during the September 1 conversation.

On September 13, 2001, Morales was arrested by the FBI. On September 19, 2001, a
grand jury retumed a one-count indictment charging Morales with extortion based on his
September 1 and 7 conversations with O’Neill. On September 18, 2002, the grand jury returned
a ten-count superseding indictment, charging him with, among other things, racketeering
conspiracy and drug-related offenses, three charges related to Morales’ brandishing of his firearm
during the drug-related offenses, and the extortion charge from the original indictment. On June

26, 2003, the grand jury returned a second superseding indictment that added other defendants.

On January 21, 2004, Morales pled guilty to count one (racketeering conspiracy) and
count nine (possession of a firearm in furtherance of a drug trafficking crime) of the second
superseding indictment. He entered into a plea agreement in which he admitted the facts
underlying counts one and nine. He also waived his right to appeal or challenge it under 28
U.S.C. § 2255, with certain exceptions. At sentencing on May 14, 2004, the Court sentenced
Morales to 210 menths on count one and a consecutive 84 months on count nine. The sentence

was within the applicable sentencing guidelines range. Due to a clerical delay, the judgment was

 
 

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not entered on the docket until May 27, 2004, An amended judgment, to correct a clerical error,
was entered on the docket on July 23, 2004.

On July 8, 2004, Morales wrote his attorney, Kent Carlson, requesting that he file an
appeal challenging his sentence pursuant to Blakely v. Washington, $42 U.S. 220 (2004).
Carlson contends that he never received the letter. On July 22, 2004, Morales wrote another
letter checking on the status of his appeal. On July 28, 2004, Carlson responded and explained
that he would not file an appeal based on Blakely for several reasons. First, the period in which
Morales could have filed an appeal had elapsed. Second, Morales had, in his plea agreement,
waived his right to appeal his sentence. Third, Blakely did not apply to Morales® sentence

because he had admitted the conduct that formed the basis of his sentence.

On August 13; 2004, Morales filed a pre se notice of appeal. On August 25, 2004, the
Seventh Circuit ordered Moraies to file a brief stating why the appeal should not be dismissed as
untimely. Morales thereafter filed with this Court a motion requesting leave to file an out of time
notice of appeal, which the Court granted on November 17, 2004. The Seventh Circuit appointed
Morales new counsel, Susan Kister, who on January 5, 2005 filed a brief on his behalf raising a
single issue: this Court erred by interjecting itself into the plea negotiations. After the
government filed its brief contending that Morales’ appeal was untimely, Kister sought to
dismiss the appeal and requested permission to withdraw from the case. On June 30, 2005,
Morales filed an opposition to his attorney's motions. On August 2, 2005, the Seventh Circuit

granted Kister leave to withdraw and dismissed the appeal as untimely.
Discussion
Morales contends that he is entitled to have the judgment in his case vacated because he

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was denied his Sixth Amendment right to effective assistance of counsel, the government failed
to disclose Brady material, his plea was involuntary, he is innocent of one of the crimes to which
he pleaded guilty, the prosecutor engaged in misconduct, new evidence has come to light
concerning the abuse of trust sentencing enhancement applied by the Court in sentencing him,
and he is entitled to be resentenced pursuant to United States v. Booker, 543 U.S. 220 (2005).
The government argues that Morales’ claims are procedurally barred because they are untimely,
he waived his right to file a section 2255 motion in his plea agreement, and he failed to raise his
claims on direct appeal. It also has addressed Morales’ claims on the merits. Before reaching the
merits, the Court wil! consider whether Morales’ claims are procedurally barred.

1. Procedural bars

a. Statute of limitations

A section 2255 motion must be filed within one year of the date on which the movant’s
judgment of conviction became final. 28 U.S.C. § 2255. The government argues that Morales is
barred from bringing a section 2255 motion because he filed it outside of the one year limitations
period. Morales’ conviction became finai on the last day he could have petitioned for certiorari
to the United States Supreme Court. Clay v. United States, 537 U.S. 522, 524 (2003). The
Seventh Circuit dismissed Morales’ direct appeal on August 2, 2005. Morales, therefore, had
until October 31, 2005 to file a petition for certiorari. See Sup. Ct. R. 13(1) (party has ninety
days after entry of judgment to file petition for certiorari). Morales is deemed to have filed his

section 2255 motion on November 2, 2006, the day he delivered the petition to prison authorities

for mailing. See Houston v. Lack, 487 U.S. 266, 275 (1988). Therefore, he filed his section

 
 

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2255 motion two days after the one-year limitations period expired,’

The limitations period on section 2255 motions is not jurisdictional. Rather, it is a statute
of limitations subject te equitable tolling. See Nolan v. United Stafes, 358 F.3d 480, 483 (7th
Cir. 2004). Equitable tolling, though, “is such exceptional relief that we have yet to identify a
circumstance that justified equitable tolling in the collateral relief context.” fd at 484. A litigant
who argues that the statute of limitations is subject to equitable to!ling must establish that he
pursued his rights diligently and that some extraordinary circumstance stood in his way. Pace v.

DiGuglielmo, 544 U.S. 408, 418 @005).

Morales argues that the limitations period should be equitably tolled because, due to
circumstances beyond his control, he was unable to learn that his direct appeal had been
dismissed until fourteen months after the Seventh Circuit issued its order of dismissal. Morales’
appellate attorney, Susan Kister, filed an appeal on his behalf in January 2005. When the
government filed its response brief, Kister apparently realized that Morales’ appeal was untimely.
On April 14, 2005, Kister filed an Anders brief and sought leave to withdraw. On April 19,
2005, the Seventh Circuit entered an order staying briefing of the appeal and allowed Morales to
respond to his attorney’s request to withdraw. On May 19, 2005, Morales filed a motion for an
extension of time to file his opposition to Kister’s Anders motion. On June 30, 2005, Morales

filed his opposition to the Anders motion. On August 2, 2005, the Seventh Circuit granted

 

' Morales argues that he had unti] November 3, 2006 to file his section 2255 motion
because federal holidays are excluded from the ninety day period he had to file a petition for
certiorari. Federal Rule of Civil Procedure 6(a), however, states that federal holidays and
weekends are only excluded from the computation of periods less than eleven days. Fed. R. Civ.
P. 6(a)}.
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Kister’s motion and dismissed Morales’ appeal as untimely. Morales contends he never received
a copy of the court's order granting Kister permission to withdraw and dismissing his appeal.
Kister states that she does not recall whether she mailed Morales a copy. The Seventh Circuit
Clerk’s Office informed the government that the August 2, 2005 order would have been sent to
Kister and not Morales, despite the court’s order granting her request to withdraw. Resp. Brief at
16 n.14.

Morales contends that a variety of circumstances prevented him from learning about the
dismissal order. He was assigned to FCI] Memphis on June 15, 2004. On February 6, 2006,
Morales was transferred to the special housing unit at FC] Memphis and remained there until
March 23, 2006. He returned to the special housing unit on March 30, 2006. On June 8, 2006,
Merales was attacked by another inmate and sustained injuries. The medical records related to
the incident indicate that Morales received “minor first aid” at the prison infirmary and reported
he had “no symptoms.” Resp. Brief, Ex. C. On August 21, 2006, Morales was transferred from
FC] Memphis to FTC Oklahoma City. On September 18, 2006, Morales was transferred to USP
Atlanta, and then on September 28, 2006 he was transferred to FCI Edgefield. Morales contends
that he had little or no ability to learn about the status of his appeal while in the special housing
unit at FCT Memphis and was further hindered because of his injuries and multiple transfers.

In October 2006, Morales wrote Kister to check on the status of his appeal. On CGctcber
20, 2006, Kister wrote Morales and informed him that his appeal had been dismissed in August

2005. A little less than two weeks later, on November 2, 2006, Morales filed his section 2255

motion.

The Court assumes, for present purposes, that Morales did not learn that his appeal had
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been dismissed until late October 2006, shortly before the deadline for filing a section 2255
motion. There is no evidence that indicates why he did not receive notice in August 2005 when
his appeal was dismissed; one can assume that either his lawyer failed to send him the court’s
order, or she sent it but the Postal Service or prison officials failed to deliver it. Clearly,
someone dropped the ball. Based on the facts in the record, however, Morales cannot establish
that he diligently pursued his appellate rights and that an extraordinary circumstance prevented
from timely filing his section 2255 motion, as required to equitably toll the statute of limitations.

Even if Morales’ attorney failed to provide him a copy of the dismissal order, such an
error does not equitably toll the statute of limitations. See Tafiani v. Chrans, 189 F.3d 597, 598
(7th Cir, 1999) (lawyer’s mistake is not basis for equitable tolling). At the end of the day,
Morales bore the responsibility to see that the filing deadline was met. See Medrowski v. Mote,
322 F.3d 965, 968 (7th Cir. 2003) (“petitioners bear ultimate responsibility for their filings ....
[Whether in prison or not, [litigants] must vigilantly oversee the actions of their attorneys and, if
necessary, take matters into their own hands.”) (citation omitted). And in this case, even if
Morales did not receive the dismissal order, he certainly was on notice that such an order was
possible. After all, he knew that his attorney had asked to withdraw from the case because she
believed the appeal to be frivolous. Yet he made no inquiry regarding the status of counsel’s
motion during the fifteen months that passed between June 30, 2005, when he filed his
opposition, and October 2006. He did not diligently pursue his rights.

Nor can Morales show that he was prevented from making a timely filing due to
extraordinary circumstances. Even if being housed in the special housing unit prevented him

from contacting the Seventh Circuit clerk’s office or his former lawyer, he was only housed in
 

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that unit for approximately half the time that the statute of limitations on his section 2255 motion
was tTunning. See United States v. Cicero, 214 F.3d 199, 204 (D.C. Cir, 2000) (equitable tolling
not appropriate for prisoner in segregation for portion of one year limitations pericd because
prisoner had ample time to prepare petition prior to restrictive placement). Nor are Morales’
transfers between prisons an extraordinary circumstance. Montenegro v. United States, 248 F.3d
585, 594 (7th Cir. 2001) {equitable tolling not justified by lack of response from attorney,
language barrier, lack of legal knowledge, and transfer between prisons), overruled on other
grounds by Ashley vy. United States, 266 F.3d 671 (7th Cir. 2001). Finally, Morales’ medical
records do not indicate that any of his medical issues were sufficiently serious or debilitating to
prevent him from filing his petition. Rather, the records show that he received minor first aid,
claimed to have no symptoms, and was not hospitalized.

Morales does appear to have diligently pursued his rights after he belatedly took steps to
learn in October 2006 that his direct appeal had been dismissed. In fact, he was able to file his
section 2255 petition within days of learning from Kister that the Seventh Circuit had dismissed
his appeal as untimely the previous year. But that hardly helps Morales’ equitable tolling
argument. Rather, it merely highlights that had he been diligent in pursuing his rights earlier, he
would have been able to file a timely section 2255 metion and that no extraordinary

circumstances stood in his way.

For these reasons, the Court concludes that Morales’ motion is time-barred and not
subject to equitable tolling. Nonetheless, to create a complete record, the Court will consider the

government's other procedural arguments and will consider any surviving claims on the merits.

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b. Plea agreement waiver

The government argues that the waiver in Morales’ plea agreement forecloses him from

filing a section 2255 motien, The waiver states that

the defendant knowingly waives the right to appeal any sentence within the
maximum provided in the statutes of conviction (or the manner in which that
sentence was determined), in exchange for the concessions made by the United
States in this Plea Agreement. The defendant also waives his right to challenge
his sentence or the manner in which it was determined in any ccllateral attack,
including but not limited te a motion broughi under Title 28, United States Code,
Section 2255. The waiver in this paragraph does not apply to a claim of
involuntariness, or ineffective assistance of counsel, which relates directly to this
wavier or to its negotiation.

Gov't Ex. 2, 918. This waiver does not preclude Morales from filing a section 2255 motion
challenging his conviction; the waiver, as worded, relates only to motions challenging his
sentence. See Ballinger v. United States, 379 F.3d 427, 429 (7th Cir. 2004) {challenge to

conviction in a § 2255 petition is outside the scope of a waiver relating to sentencing).

The waiver does, however, preclude Morales from raising claims challenging his sentence
unless they involve a contention that the waiver in the plea agreement was involuntary or resulted
from ineffective assistance of counsel. Several of Morales’ claims fall within the scope of the
waiver. These include his claims that the prosecutors engaged in misconduct at the sentencing
hearing {ground five), his claim that the pre-sentence report incorrectly included a two-point
enhancement for abuse of a position of public trust (ground six), and his claim that he must be
resentenced pursuant to Unifed States v. Booker, 543 U.S. 220 (2005) (ground seven). These
claims are procedurally barred because Morales waived his right to raise such issues in a section
2255 motion.

In a separate part of his prosecutorial misconduct claim, Morales argues that the

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prosecutors engaged in misconduct by misrepresenting certain facts during the January 21, 2004
change of plea hearing. This claim relates to Morales’ conviction, not his sentence. He therefore
did not waive in the plea agreement his right to bring this part of his misconduct claim.

Morales also alleges twenty-two separate bases for his claim that he received ineffective
assistance of counsel! {ground one). Many of these contentions relate to sentencing issues that do
not fall within the narrow exceptions to the waiver set forth in the plea agreement. These include
his arguments that his attorney gave Morales bad advice that caused him to recerve a two-level
enhancement for obstruction of justice; advised him not to speak at the sentencing hearing; failed
to follow his instructions that he did not want to admit facts that would enhance his sentence;
failed to review with him the government’s sentencing proffer; failed to inform him that he could
object to the pre-sentence report; failed to object to the quantity of marijuana taken into account
at sentencing; failed to file a motion under U.S.8.G. §5K1.1 seeking a sentencing reduction due
to his assistance to the government; and failed to tell the Court at sentencing that he only left

Emily Rivera handcuffed for several minutes, not one hour.

Plea agreements that include a waiver of the right te challenge a sentence by way of a
section 2255 motion are enforceable. See Bridgeman v. United States, 229 F.3d 589, 591 (7th
Cir, 2000}. Because Morales waived his right to assert each of these claims, he is barred from
raising them in a section 2255 motion.

c Failure to raise issues on direct appeal

The government also argues that five of Morales’ claims are procedurally barred because

he failed to raise them on direct appeal. These include his Brady claim, his claim that his guilty

plea was involuntary, his claim that he is innocent of one of the crimes to which he pleaded

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guilty, his claim that government prosecutors engaged in misconduct by misrepresenting facts to
the Court, and his ineffective assistance of counsel claims.

A petitioner may not raise issues in a section 2255 petition that were raised on direct
appeal, absent a showing of changed circumstances, non-constitutionai issues that could have
been raised on direct appeal but were not, and constitutional issues that were not raised on direct
appeal, unless the petitioner demonstrates good cause and prejudice for the failure. Borre v.
United States, 940 F.2d 215, 217 (7th Cir. 1991}. Morales’ direct appeal concerned only one
issue: whether the Court improperly interjected itself into the plea negotiations. The Seventh
Circuit did not reach that issue on the merits because it dismissed the appeal as untimely.

Each of Morales’ arguments, however, are based at least in part on material that was
outside the recerd in this Court through the imposition of judgment. Morales thus could net have
raised these issues on direct appeal. See Galbraith v. United States, 312 F.3d 1001, 1007-08 (7th
Cir, 2002) (appellate court limited to facts in the record and may not consider any extrinsic
evidence}.

Morales argues that the government withheld exculpatory evidence that would have
shown he did not possess a weapon during the shakedowns to which he pleaded guilty. There
was no evidence in the record at the time of judgment that the government withheld any
exculpatory information; as a result, Morales could not have brought his Brady claim on direct
appeal. The same is true of his claim that his plea was involuntary. In his present claim, Morales
relies, in part, on evidence that was not in the record at the time of his conviction.

The government also argues that Morales waived his actual innocence and prosecutorial

misconduct claims by not raising them on direct appeal. Morales limits his actual imocence

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claim to his conviction for using a weapon in furtherance of a drug crime (18 U.S.C. § 924). In
support, he points to Emily Rivera’s alleged statements that she never saw Morales brandish a
weapon as evidence of his innocence. Rivera’s statements were not part of the record at the time

of judgment and therefore could net have formed the basis of an appeal.

The Court has already found that Morales waived in his plea agreement the night to bring
the sentencing-related part of his prosecutorial misconduct claim. The remainder of the claim
relates to alleged misstatements regarding Morales’ use of a firearm made by the prosecutor
during Morales’ change of plea hearing. Morales argues that these misstatements led the Court
to be dissatisfied with certain terms of Morales’ plea agreement, which, in turn, allegedly led
Morales to enter into a revised plea agreement with the government on terms that he views as
less favorable. Again, the alleged evidence that Morales did not brandish a weapon was not in
the record when the Court entered judgment. Morales thus could net have brought this claim on
direct appeal.

The government also contends that Morales waived his ineffective assistance of counsel
claims because he was represented by different counsel on direct appeal and failed to raise the
issues. The government has inexplicably overlooked Massaro v. United States, 538 U.S. 504
(2003), which squarely holds that ineffective assistance claims should not be subject to “the usual
procedural default rule,” and that “an ineffective-assistance-of-counsel claim may be brought in a
collateral proceeding under § 2255, whether or not the petitioner could have raised the claim on
direct appeal.” fd at 504; see also Richardson v. United States, 379 F.3d 485, 487 (7th Cir.
2004}. Asa result, Morales did not waive his ineffective assistance of counsel claims by failing

to raise them on direct appeal.

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d. Collateral attack on guilty plea; voluntariness of plea

Morales alleges that the government withheld Brady material, that he is actually innocent,
and the prosecutor engaged in misconduct at his change of plea hearing. Each of these claims is,
in effect, a challenge to Morales’ guilty plea to the charge that he possessed a firearm in
furtherance of a drug trafficking crime in violation of 18 U.S.C. § 924. It is settled law, however,
that “a voluntary and intelligent plea of guilty made by an accused person, who has been advised
by competent counsel, may not be collaterally attacked.” United States v. Broce, 488 U.S. 363,
574 (1989) (quoting Mabry v. Johnson, 467 U.S. 504, 508 (1984). If Moraies’ plea was
voluntary and he was properly advised by counsel regarding his plea, he may not raise these
claims in a section 2255 metion.

The question whether a defendant is competent to plead guilty focuses on “whether he has
sufficient present ability to consult with his lawyer with a reasonable degree of rational
understanding[,] whether he has a rational as well as factual understanding of the proceedings
against him.” Dusky v. United States, 362 U.S. 402, 402 (1960); Godinez v. Moran, 509 U.S.
389, 398-99 (1993) (standard governing competency to plead guilty is the same as that used to
evaluate competency to stand trial}.

Pursuant to Federal Rule of Criminal Procedure 11, the Court had a colloquy with
Morales at his change of plea hearing to ensure that his plea was voluntary and he knew the
consequences of pleading guilty. Morales stated that no one promised him anything outside the
plea agreement to entice him to plead guilty; he was pleading guilty without threats and of his
own free will; there were no agreements with the government outside the scope of the plea

agreement; he had discussed the plea agreement with his counsel; he had no trouble

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understanding what his lawyer told him regarding the consequences of pleading guilty; his
attorney answered all the questions he had; he was satisfied with his attorney’s work; he carefully
read the plea agreement before signing it; and he agreed with the prosecutor’s recitation of the
facts, including those relating to the gun possession charge. In short, Morales unequivocally
affirmed under oath at the plea colloquy that his guilty plea was voluntary and that his attorney
competently explained the consequences of pleading guilty. The Court likewise explained those
consequences to Morales thoroughly during the plea colloquy.

The evidence Morales puts forth to support his contention that his guilty plea was
involuntary is unpersuasive. Morales points to several instances when he made references to
God when speaking in court as evidence that he was incompetent. The Court has reviewed the
transcripts of those proceedings. It was clear to the Court at the time, and it is clear from the
context of the transcripts, that Morales was expressing his religious faith and was not suffering
from delusions. For example, Morales told the Court that “in the name of my family and my
children, I'm going to probably end up representing myself.” Dec. 6, 2002 Tr. at 7. Later in that
hearing, after the Court counseled Morales against preceeding pro se, Morales stated “I believe
in the truth and in our paths of justice and I believe also in doing the will of God, and I'l] take
what you said inte account.” fd at 9. At the change of plea hearing, Morales said “Before you,
before God, and before my family, I plead guilty, your Honor.” Jan. 24, 2004 Tr. at 33. He never
suggested that he was hearing voices or that God was talking to him directly.

After he began serving his sentence and, according to Morales, once again competent,
Morales continued to refer to his religious faith in a similar manner. For example, in February

2005, he concluded a letter te Kister by saying “[t]hank you in advance for you[r] help and

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dedication, | hope that God give you patien[ce] and wisdom to understand my concern.” Reply
Brief Ex. C. In April 2005, he wrote, “I await your response to what you think about these ideas.
Thank and May the GOD of the Universe bless you so you'll bless me.” fd. The fact that
Morales continued to make such references after he claims to have regained competence is

significant evidence that his similar references at the plea colloquy do not suggest incompetence.

Morales attaches an affidavit from his pastor, Angel Flores, which Morales apparently
believes supports his claim of incompetence. The pastor avers, however, that he told Morales
that he did not need anti-psychotic medication anymore and that he “observed [Morales’] post-
arrest interaction with his children and the youth group at the Church to be appropriate and
positive.” Reply Brief, Ex. A at 914, 8. Even if Pastor Flores’ affidavit were competent
evidence regarding Morales’ competency to plead guilty (which the Court doubts), nothing in it
suggests that Morales” guilty plea was involuntary.

Morales also points to the medication he currently takes in prison as evidence that his
guilty plea was involuntary. Morales contends that he currently takes medication to treat
headaches {Propranotol), depression (Fluoxetine), and pain from his June 8, 2006 prison assault
(Naproxen). He also contends that he takes Mirtazapine, which he describes as a “powerful anti-
psychotic drug” to treat anxiety, paranoia, mood-swings, psychotic behavior and to help him
sleep, Reply Brief, Ex. H. Morales has not submitted any evidence that he had these conditions
at the time he pleaded guilty or, even if he had, that his untreated headaches and depression
would have been severe enough to render him unable to consult with his lawyers or understand
the proceedings. To the contrary, at the change of plea colloquy, Morales told the Court that he

had no trouble understanding the proceeding and its consequences and was able to consult with

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his lawyers. Moreover, there is no evidence that Morales has ever suffered from psychosis. He
has provided no support for the proposition that Mirtazapine is an anti-psychotic medication.
The Court has likewise found no such evidence on its own. Specifically, on-line references
indicate that Mirtazapine is used to treat depression, not psychosis. Remeron (mirtazapine)
prescribing information, http://www.remeronsoltab.com/Authfiles/Images/292_73427.pdf (last
visited June 21, 2007}; Wikipedia, http://en.wikipedia.org/wiki/Mirtazapine (last visited June 21,
2007). To be clear, the Court relies on the absence of evidence submitted by Morales, not on
Internet references. But these references do tend to support the proposition that Mirtazapine is
not an anti-psychotic medication.

The Court concludes that Morales’ guilty plea was knowing and intelligent and that he
was properly advised by counsel regarding the consequences of pleading guilty. For this reason,
Morales may not collaterally attack his guilty plea by asserting his Brady and actual innocence
claims or his prosecutorial misconduct claim involving alleged misstatements of evidence
regarding his brandishing of a gun.

2, Morales’ ineffective assistance of counsel claims

Morales raises five alleged instances of ineffective assistance of counsel that do not relate
to sentencing: his attorney failed to interview witnesses in preparation of trial, failed to retain a
private investigator, failed to order a psychiatric evaluation, failed to file an appea! and censult
with Morales regarding the merits of an appeal, and failed to “follow up on defendant/[‘s] request
tc look into issue cf no specification of the precise pattern of racketeering.” Motion { 21.

To prevail on a claim of ineffective assistance of counsel, a convicted person must show

that “counsel’s representation fell below an objective standard of reasonableness” and “any

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deficiencies in counsel’s performance [were] prejudicial to the defense... .” Strickland v.
Washington, 466 U.S. 668, 687-88, 692 (1984), When a defendant has pleaded guilty, prejudice
requires a showing “that there is a reasonable probability that, but for counsel’s errors, he would
not have pleaded guilty and would have insisted on going to trial.” Hilf v. Lockhart, 474 U.S. 52,
59 (1985}.

Ina section 2255 motion, a defendant must do more than merely allege that he would
have gone to trial. Bethel vy. United States, 458 F.3d 711, 718 (7th Cir. 2006). Rather, he must
“establish through objective evidence that a reasonable probability exists that he would have
gone to trial.” Berkey v. United States, 318 F.3d 768, 773 (7th Cir. 2003). Morales has not done
this. He has not alleged that there is a reasonable probability he would have gone to trial but for
his attorney’s alleged errors, let alone provided any evidence in support of this position.
Therefore, he cannot show that he was prejudiced by his attorney’s alleged ineffective assistance.

Even if Morales could show prejudice, his ineffective assistance claims fail because he
has failed to show that his attorney’s performance fell below an objective standard of
reasonableness. See Strickland, 466 U.S. at 687-88. Morales contends that his attorney failed to
interview several witnesses, including his mother and sister, in preparation for trial. Counsel
avers that he did interview the witnesses suggested by Morales when it appeared that the case
would proceed to trial. The attorney concedes that he did not interview Morales’ mother or
sister. Morales has made no showing, however, that his mother or sister were witnesses to any of
the crimes or could have provided any exculpatory evidence. In the case of an uncalled witness,
“at the very least the petitioner must submit an affidavit from the uncalled witness stating the

testimony he or she would have given had they been called at trial.” United States v. Kamel, 965

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F.2d 484, 491 (7th Cir. 1992}. Morales has not dene that. In addition, to the extent that Morales
contends his mother and sister could have provided information helpful to him at sentencing,

Morales waived in his plea agreement his right to assert such a claim.

Morales also contends that his attorney rendered ineffective assistance because he failed
to utilize a private investigator to interview a woman who Morales claims had mitigating
evidence. He claims that the potential witness would have testified that James O'Neill stalked
her and threw a brick through her window; O’Neill lied to the FBI about Morales using a gun
during the crimes; O’Neill was paid by the FBI to set up Morales; and O’Neill took advantage of
a “drunk cop.” Reply Brief at 28. Morales’ attommey does not recall Morales telling him about
this potential witness. In any event, a section 2255 movant who claims his trial counsel was
deficient in failing to track down and interview witnesses must present sufficiently precise
information as to the nature and probable effect of evidence that would have been obtained had
counsel undertaken desired investigation. United States v. Farr, 297 F.3d 651, 658-59 (7th Cir.
2002), Morales has not done that. Moreover, any testimony the unidentified witness could have

given would have had little effect in light of Morales” admissions.

Morales argues that he received ineffective assistance of counsel because his attorney
failed to order a psychiatric examination that had been authorized by the Court. The purpose of
the requested psychiatric exam was to determine whether Morales was insane at the time of the
charged offense, net to determine his competency to stand trial or plead guilty. Morales
discussed a potential insanity defense with his attorney and decided not to pursue it. Morales
now argues that his attorney should have arranged a psychiatric exam to determine his

competency.

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When a defendant argues that he received ineffective assistance of counsel because his
attorney should have requested a competency hearing, a court must determine whether there is a
reasonable probability the defendant would have been found unfit had a hearing been held.
Eddmonds v. Peters, 93 F.3d 1307, 1317 (7th Cir. 1996). Morales has not presented evidence
sufficient to permit a finding that there is a reasonable probability that he would have been found

incompetent had his attorney requested a competency exam cr hearing.

The facts Morales relies upon are scant evidence of incompetence. As discussed above,
Morales’ references to his faith are not evidence of incompetence. See section 1{d) supra.
Morales’ argument that his attorney rendered ineffective assistance by failing to request a
competency examination or hearing is also rebutted by the statements and demeanor of Morales
while in court. At Morales’ change of plea hearing, the Court asked Morales specific questions
about his mental health, his current use of drugs and alcoho!, and whether he was proceeding
voluntarily. Morales answered each of these questions in an articulate and lucid manner.
Morales informed the Court that while he was out on bond, he taught eighth grade in a public
school and was working as an investigator for child abuse and neglect cases. He told the Court
that he did not need medication and was not being treated by a psychiatrist. The Court asked
Morales, “[fjrom your perspective, have you had any trouble in terms of understanding what your
lawyer is telling you, in terms of understanding the proceedings and the possible consequences?
Have you had any trouble with those items?” Dec, 24, 2004 Tr. at 12. Morales responded, “[nJo,
I have not, your Honor.” Jd. Moreover, the Court had the opportunity to observe Morales at
length on these and other occasions. He did not exhibit any signs suggesting that he was unable

to consult with his lawyers or did not have a rational and factual understanding of the

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nroceedings.

Based en these facts, Morales has failed te show that his attorney rendered ineffective
assistance by failing to seek a competency evaluation or hearing. Specifically, Morales has come
nowhere near showing that if such a hearing had been held there was a reasonable probability he

would have been found unfit.

Morales also alleges that he received ineffective assistance of counsel because his
attorney failed to file an appeal! challenging his sentence. The attorney’s decision not to file an
appeal was not objectively unreasonable, because Morales had waived his right to appeal his
sentence in the plea agreement he entered into with the government. An appeal would have been

frivolous.

Morales also contends that he received ineffective assistance of counse! because his
lawyer failed to “follow up on [his] request to lock into issue of no specification of the precise
pattern of racketeering.” Motion at 3. This argument is not developed, and it is not clear exactly
what Morales is suggesting. The government interprets this argument as challenging the
sufficiency of the racketeering allegation in the second superseding indictment. An indictment is
sufficient if it states all the elements of the offense charged, informs the defendant of the nature
of the charge, enabling the defendant to prepare a defense, and enables the defendant to plead the
judgment as a bar to later prosecution of the same offense. United States v. PJ. Vollmer & Co.,
Inc., 1 F.3d 1511, 1518 (7th Cir. 1993}. In reviewing the sufficiency of the indictment, a court
considers the challenged count as a whole and refrains from reading it in an overly technical
manner. United States v. McNeese, 901 F.2d 585, 602 (7th Cir. 1990). The test for validity is

not whether the indictment could have been framed in a more satisfactory manner, but whether it

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conforms te minimal constitutional standards, United States v. Webb, 747 F.2d 278, 284 (Sth Cir.
1984),

Based on this standard, the racketeering charge in the indictment was sufficient, and it
was not cbjectively unreasonable for Morales’ attorney not to challenge it. The racketeering
charge clearly stated all the elements of the offense, put Morales on notice regarding the nature of
the offense, and enabled him to plead deuble jeopardy if charged again in the future.

A number of Morales’ ineffective assistance of counsel claims also fail because they are
based on assertions that contradict the statements in his plea agreement and at the change of plea
hearing. It is well established that a defendant cannot repudiate statements made at a plea
colloquy and in a plea agreement through contradictory allegations in a section 2255 motion. See
United States v. Suggs, 374 F.3d 508, 520 (7th Cir. 2004). Morales’ ineffective assistance claims
regarding his attorney’s failure to investigate and order a psychiatric evaluation fail for this
reason as well.

Conclusion

For the foregoing reasons, the Court denies Morales’ section 2255 motion [docket nos. 1

& 5]. The Clerk is ordered to enter judgment in favor of the respondent.

VAM CHA,

MATTHEW F. KENNELLY (
United States District Judge

Date: June 21, 2007

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